Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 1 of 8

SETTLEMENT AGREEMENT AND WAGE AND HOUR RELEASE

This Agreement and Release (“Agreement”) sets forth the mutual
understanding between ARTURO DANIEL MIRANDA, ALFONSO VERA RODAS,
MIGUEL GARCIA, and DANIEL GRANDE NETZAHUATL (hereinafter referred to
as “Plaintiffs”) and GRACE FARMS, INC. D/B/A CITY CAFE, UNAK GROCERY
CORP. D/B/A LIBERTY CAFE, and VIVEK SINGHAL (hereinafter collectively
referred to as “Defendants”), regarding Plaintiffs’ employment and the settlement
of any and all claims Plaintiffs have or may have against Defendants.

WHEREAS, Plaintiffs have commenced an action against Defendants in the
Southern District of New York, United States District Court, bearing Docket No.:
16-cy-1369 alleging wage and hour violations under the Federal Labor Standards
Act and New York Labor Law.

WHEREAS, Defendants deny that they failed to pay Plaintiffs all wages owed
to them;

WHEREAS, Defendants do not admit any violation of law or any liability to
Plaintiffs;

WHEREAS, Plaintiffs and Defendants mutually desire to settle and resolve
all disputes and differences between them, on the terms and conditions hereinafter
set forth;

NOW, THEREFORE, in consideration of the mutual promises contained in
this Agreement, Defendants and Plaintiffs, having been represented by counsel,
have independently concluded that it is in their respective best interests to do so,
agree as follows:

1, Payment

In lieu of incurring further litigation costs associated with defending the action
commenced against them by Plaintiffs and in consideration for Plaintiffs’ execution
of this Agreement, which includes a release, Defendants agree to the following
payment terms:

A. Defendants shall cause Plaintiffs to be paid the gross sum of eighty
thousand dollars ($80,000.00) inclusive of attorneys’ fees and costs (“Settlement
Funds”), payable as follows:

1, On or before July 17, 2018, Defendants shall provide proof of a
certified check or bank check held in escrow in the amount of eighty
thousand dollars ($80,000.00) payable to “Helen F. Dalton & Associates,
P.C,, as attorneys for Plaintiffs.”
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 2 of 8

(a)

(b)

3.

ii. Upon Court approval of this Agreement, Defendants shall mail the
certified check or bank check in the amount $80,000.00 via certified mail
within three (3) business days.

iti. The Settlement Funds will be provided to the Helen F. Dalton &
Associates, P.C., 69-12 Austin St, Forest Hills, New York, 11375.

iv. Plaintiffs understand and agree that they are responsible for making
and/or paying ail of the taxes relating to any and all monies received under
this Agreement.

Wage and Hour Release,

In consideration of the promises of benefits, mutual agreements, payment
and other good and valuable consideration contained in this Agreement,
Plaintiffs knowingly and voluntarily release and forever discharge
Defendants and Defendants’ divisions, affiliates, subsidiaries, parents,
corporations under common ownership or control or related business
entities, predecessors, successors, management companies, assigns and
their officers, directors, members, partners, trustees, current and former
employees agents including Vivek Singhal, stockholders, administrators,
representatives, attorneys, insurers or fiduciaries, past, present or future,
acting only in their capacity on behalf of Defendants, (the “Releasees”)
from any and all claims, causes of action, debts, obligations, promises,
covenants, agreements, contracts, endorsements, bonds, controversies,
suits or causes of action known or unknown, suspected or unsuspected,
arising out of the allegations set forth in this Action. This Release covers
any rights or claims, known or unknown, relating in any way to Plaintiffs’
compensation derived from Plaintiffs’ employment relationship with the
Releasees, or arising under any related statute or regulation including, but
not limited to, the Fair Labor Standards Act, 29 U.S.C. §201, et seq., the
New York State Labor Law §§ 1 ef seg. and all applicable regulations
including but not limited to 12 NYCRR 146 et seg; the Wage Theft
Prevention Act, the New York Equal Pay Law; and all other New York
State and Federal Wage and Hour Laws based upon any conduct occurring
from the beginning of the world to the date this Agreement is executed.

The release and discharge contained in this paragraph 2 shall also apply to
the Defendants’ insurers, the Defendants’ past and present contractors,
officers, directors, attorneys, agents, servants, representatives, employees,
partners, owners, shareholders, members, predecessors and successors in
interest and assigns and affiliates, acting only in their capacity on behalf of
Defendants.

Representations and Warranties.

The Parties each represent, warrant to and agree with the other as follows:
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 3 of 8

(a) The terms of this Agreement are contractual and are the result of negotiations
between the Parties and each party has given consideration in return for having
received consideration due to concessions and good faith bargaining by both
Plaintiffs and Defendants as to the terms of the settlement;

(o} This Agreement has been carefully read by each of the Parties after
consultation with their respective attorneys or advisors to the extent they deem
appropriate and the contents hereof are known to and understood by each of the
Parties. It is signed freely on an informed basis and with due authority by each
Party executing this Agreement and is binding and enforceable in accordance with
its terms;

(c) Covenant Not to Sue: Plaintiffs hereby covenant and agree not to sue,
commence, prosecute and continue any other proceeding or complaint or accept
any relief individually or as a member of a class, against Defendants or Releasees
based on any claims that are referred to in paragraph three (3) of this Agreement.
Plaintiffs waive any right or ability to be a class or collective action representative
or to otherwise participate in any putative or certified class, collective or multi-
party action or proceeding in which Defendants or any other Releasee identified
in this Agreement are a party based on any claims that are referred in paragraph
two (2) of this Agreement. Plaintiffs waive any right to recover monetary
damages in any charge, complaint or lawsuit filed by Plaintiffs or anyone else on
Plaintiffs’ behalf based on any claims referred to in paragraph two (2) of this
Agreement.

(d) Sufficiency of Consideration: Plaintiffs expressly understand and agree that
the obligations under this Agreement and tender of the payment described herein
are in lieu of any and all other amounts to which Plaintiffs might be, are now, or
may become entitled to receive from Defendants upon any claim asserted in the
Action and referenced in paragraph two (2) of this Agreement. Plaintiffs expressly
waive any right or claim that they may have, or may assert, in this Action,
regarding claims against Defendants for payment of back pay, interest, bonuses,
accrued vacation, accrued sick leave, medical, dental, optical or hospitalization
benefits, accidental death and dismemberment coverage, long-term disability
coverage, stock options, pensions, life insurance benefits, overtime, severance pay,
liquidated damages and/or attorneys’ fees or costs with respect to or derivative
from Plaintiffs’ employment with Defendants. Plaintiffs further understand and
agree that the payment described herein is over and above any obligations and
payment(s) from Defendants to which Plaintiffs may have been entitled. Plaintiffs
hereby specifically acknowledge that this Agreement, and the monies received by
Plaintiffs referenced in paragraph (1) of this Agreement constitute a fair and
reasonable resolution of a bona fide dispute over provisions of the Fair Labor
Standards Act and the New York Labor Law.
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 4 of 8

(e) Separation of Employment: The employment relationship and/or association
between Plaintiffs and Defendants/Releasees has ended unrelated to any federal,
state, or municipal statute or any cause of action Plaintiffs have or may have
against Defendants/Releasees. It is further understood should Plaintiffs again
apply to work at or for Defendants/Releasees in any capacity,
Defendants/Releasees, based on this clause, may deny Plaintiffs employment for
any position they seek, and said denial will not be a violation of any federal, state
or municipal statute and/or common law right and will not be retaliatory in any
way.

(f) Plaintiffs freely and knowingly enter into this Agreement and are signing this
Agreement voluntarily and not under any duress.

(g) Nothing in this Agreement shall be construed to restrict any communication or
participation Plaintiffs may have with any agency of the United States
government, subdivision thereto, or any State or Municipal government agency
charged with the enforcement of any law. Plaintiffs understand that although they
are not prohibited from filing a charge or complaint against Defendants with any
agency of the United States government, any subdivision thereto, or any State or
Municipal government agency charged with the enforcement of any law by virtue
of this Agreement, Plaintiffs waive any right to recover monetary damages in any
charge, complaint or lawsuit filed by Plaintiffs or anyone else on Plaintiffs’ behalf
based on any claims referred to in paragraph two (2) of this Agreement.

(h) As of the date of execution of this Agreement, Plaintiffs and their counsel are
unaware of any individual(s) who is ready, willing and able to file a civil action
for damages, or otherwise proceed in any manner, against Defendants or
Releasees as defined herein, including all related entities/individuals noted in
paragraph two (2), for any of the type of claims asserted in the Complaint filed in
this Action.

4, Voluntary Dismissal with Prejudice.

(a) Plaintiffs hereby authorize and direct their attorneys, upon their execution of
this Agreement, to execute and file with the United States District Court for the
Southern District of New York, a Stipulation of Discontinuance with Prejudice in
this Action, Such Stipulation shall be filed by counsel for Plaintiffs immediately
after court approval of this settlement and receipt of the Settlement Funds.

(b) Plaintiffs hereby authorize and direct their attorneys to dismiss the Action with
prejudice.

5. Non-Admission.
(a) This Agreement shall not in any way be construed as an admission by

Defendants that they acted wrongfully with respect to Plaintiffs or any other
individual, or that Plaintiffs have any rights whatsoever against Defendants.
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 5 of 8

Defendants specifically disclaim any liability for any purported wrongful acts
against Plaintiffs on the part of themselves, their officers, employees, and/or
agents. Further, this Agreement shall not in any way be construed as an
admission by Defendants as to any allegations set forth in the Complaint in the
Action,

(b) All parties acknowledge this Action as being settled to avoid further litigation
and its concomitant expense.

6. Applicable Law.

This Agreement shall be governed by, interpreted, constructed and enforced in
accordance with the laws of the State of New York.

7. Mutual Non-Disparagement

The Parties agree that they each shall not, directly or indirectly, at any time, make
any statement (whether written, oral, electronic, or otherwise) or otherwise take any
action that would or might reasonably be interpreted as harmful or disparaging to any of
the Parties. For purposes of the preceding sentence, “disparaging” shall mean any
statement or communication, whether verbal or written, that would tend to lessen the
stature or standing of the Parties in the eyes of an ordinary and reasonable person in the
community, but will not preclude the Parties from making good faith statements in the
context of any judicial, administrative, arbitration, mediation or other legal proceeding.
Nothing in this paragraph shall preclude the Parties from truthfully communicating their
experiences concerning the Action or the Settlement,

8. Applicable Law and Continuing Jurisdiction

This Agreement shall be governed by, interpreted, constructed and enforced in
accordance with the laws of the State of New York. The Parties consent to the authority
of United States District Judge Vernon 8. Broderick for all purposes and hereby expressly
agree and understand that the Court shall retain jurisdiction over the interpretation or
implementation of this Agreement as well as any and all matters arising out of, or related
to, the interpretation of this Agreement and the settlement contemplated thereby.

9, Severability,

The provisions of this Agreement are severable. If any provision of this
Agreement is held invalid, the invalidity shall not affect other provisions or application of
the Agreement that can be given effect without the invalid provision or application.

10. No Other Representations or Agreements,

Each party acknowledges that, except as expressly set forth herein, no
representations of any kind or character have been made by any other party or parties,
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 6 of 8

agents, representatives, or attorneys, to induce the execution of this Agreement. This
Agreement constitutes a single integrated contract expressing the entire agreement of the
parties hereto, There is no other agreement or understanding, written or oral, expressed or
implied, among the parties hereto concerning the subject matter hereof, except the
agreements set forth in this Agreement. This Agreement constitutes and contains the
entire agreement among the parties, and supersedes and replaces all prior negotiations
and all agreements, proposed or otherwise, written or oral, concerning the subject matter
hereof.

11, No Modification Except in Writing.

This Agreement cannot be modified or changed except by writing, signed by the
parties, with specific reference to this Agreement.

12. Execution in Counterpart.

This Agreement may be executed in counterpart by each party and each executed
Agreement, when taken together, shall constitute a complete Agreement.

13. BY SIGNING THIS AGREEMENT, the Parties state that they have
carefully read the Agreement, fully understand it and are signing it voluntarily.

THEREFORE, the Parties to this Settlement Agreement and Wage and Hour
Release now voluntarily, freely and knowingly execute this Agreement.

PLAINTIFES:

ARTURO DANIEL MIRANDA

Date: Ie Osl x”

 

ALFONSO VERA RODAS

Date: 7 23/0 Ss

 

 
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 7 of 8

QPFFTE

DANIEL GRANDE NETZAHUATL

Date: 7/20 /

DEFENDANTS:

GRACE FARMS, INC,

 

Vivek Singhal, Agent Authorized to sign on Grace Farm, Inc.’s behalf

Date:

UNAK GROCERY CORP,

 

Vivek Singhal, Agent Authorized to sign on Unak Grocery Corp.’s behalf

Date:

 

Vivek Singhal, as an individual

Date:
Case 1:16-cv-01369-VSB Document 93-1 Filed 07/26/18 Page 8 0

 

DANIEL GRANDE NETZAHUATL

Date:

DEFENDANTS:

GRACE FARMS, INC. —

Vivek Sirighal, Agent Nuthorized to sign on Grace Farm, Inc.’s behalf

Ie

Date:

 

UNAK GROCERY CORP.

nde Mild

Vivek Singhal, Agent Austhorized to sign on Unak Grocery Corp.’s behalf _

om at 61S

Vivek nt as a if jadividgal

bat oie y

 

 

 
